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                         UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF PENNSYLVANIA


EDDYSTONE RAIL COMPANY, LLC,           :
         Plaintiff/Counter-defendant,  :
                                       :
   v.                                  :
                                       :
BRIDGER LOGISTICS, LLC, et al.,        : No. 2:17-cv-00495-JD
          Defendants,                  :
                                       :
BRIDGER LOGISTICS, LLC, et al.,        :
          Defendants/Counterclaimants. :
                                       :
                                       :


                               BL/FG DEFENDANTS’
                           CROSS-MOTION FOR SANCTIONS

       Defendants Bridger Logistics, LLC, Ferrellgas Partners, L.P., and Ferrellgas, L.P. (the

“BL/FG Defendants” or “BL/FG”) respectfully move for sanctions (1) precluding Plaintiff

Eddystone Rail Company, LLC (“ERC” or “Eddystone”) from introducing certain evidence; (2)

requiring ERC to provide interrogatory responses in lieu of certain Rule 30(b)(6) deposition

testimony; (3) requiring ERC to produce a witness for a second Rule 30(b)(6) deposition on

Topic 3 of the BL/FG 30(b)(6) notice; and (4) requiring ERC to reimburse the BL/FG

Defendants for their reasonable attorneys’ fees incurred to prepare for and take the August 31,

2020 deposition of ERC’s corporate representative, as well as the reasonable attorneys’ fees

incurred by the BL/FG Defendants to oppose ERC’s Motion for a Protective Order. The grounds

for this motion are briefly set forth below and detailed in the Memorandum in Opposition to

Plaintiff’s Motion for a Protective Order and Cross-Motion for Sanctions and supporting

documents (the “Memorandum”). The Memorandum (Dkt. 404) is hereby incorporated herein

by reference.


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       1.      On January 4, 2019, the BL/FG Defendants served their notice to take the

deposition of ERC’s corporate representative pursuant to Fed. R. Civ. P. 30(b)(6). The 30(b)(6)

notice included topics addressing ERC’s claims against the BL/FG Defendants, including Topics

2, 3, and 4, as follows:

       o BL/FG Topic 2: “Any alleged obligation of Bridger Logistics to provide financial
         support or reimbursement to BTS relating to Eddystone or the RSA.”

       o BL/FG Topic 3: “Eddystone’s accounting procedures, general ledger, and balance
         sheets, including but not limited to, Eddystone’s use of cost centers in its accounting,
         Eddystone’s treatment of intercompany payables and receivables in its accounting,
         Eddystone’s treatment of amounts receivable from BTS or its affiliates, the allocation
         of expenses and revenues among Eddystone and its affiliates, Eddystone’s treatment
         of proceeds from the RSA, and any value assigned by Eddystone to the RSA or to its
         customer relationship with BTS or its affiliates in its accounting records.”

       o BL/FG Topic 4: “The material facts alleged in the FAC [First Amended Complaint]
         including but not limited to the following:

            a. The alleged implied contract that Eddystone identifies in the FAC, including
            Eddystone’s reliance on such contract, the terms of such contract, the termination of
            such contract, and the manner in which Eddystone became aware of the alleged
            implied contract;

            b. The basis for and meaning of Eddystone’s allegations that Defendants caused
            BTS to allow an implied contract with Bridger Logistics to be abrogated without
            compensation;

            c. The basis for and meaning of Eddystone’s allegations that Defendants treated and
            represented to others that BTS’ assets were Bridger Logistics’ and Ferrellgas’ own
            assets, including the specific representations allegedly made;

            d. The basis for and meaning of Eddystone’s allegations that Defendants improperly
            caused BTS to forgive accounts receivable;

            e. The basis for and meaning of Eddystone’s allegations that the lien on BTS assets
            in 2015 and 2016 was in anyway improper;

            f. The basis for and meaning of Eddystone’s allegations that Defendants owed and
            violated fiduciary duties of care and loyalty allegedly owed to BTS’ creditors,
            including Eddystone at any time from 2013 to the present;

            g. The basis for and meaning of Eddystone’s allegations that Defendants Rios and
            Gamboa ‘completely dominated BTS in all aspects of its business’;


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            h. The basis for and meaning of Eddystone’s allegations that Rios and Gamboa
            ‘were the officers and controlling persons of BTS as well as Bridger Logistics and
            FGP,’ and that ‘[t]he value was transferred from BTS’ was ‘for the benefit of’ Rios
            and Gamboa;

            i. Eddystone’s knowledge and understanding of what benefit Rios and/or Gamboa
            received from the transfers alleged in the FAC, including the method and manner of
            calculating the value of the transfer and the benefit allegedly received; and

            j. The precise date Eddystone alleges that BTS became insolvent, and the factual
            basis for this allegation.”1

       3.      Between January 2019 and August 2019, the parties engaged in a series of meet

and confers during which they discussed 30(b)(6) depositions to be taken by both sides. During

that period, ERC repeatedly rejected proposals to exchange interrogatory responses in lieu of

30(b)(6) testimony on contention topics.

       4.      By August 2019, over a year before the deposition of ERC’s 30(b)(6) witness,

both parties had committed to tender a witness to address contention topics in their respective

30(b)(6) notices, after ERC rejected repeated proposals to exchange interrogatory responses in

lieu of live 30(b)(6) testimony.

       5.      On August 25, 2020, a week before the ERC 30(b)(6) deposition on September 1,

ERC’s counsel requested to meet and confer to confirm that its witness would not testify on

behalf of ERC’s parent entities. Defense counsel participated in a call the next day to resolve

that issue, and ERC raised no other issues with the upcoming deposition.

       6.      On August 31, 2020, the day before the September 1 deposition, ERC continued

to backpedal and renege on its agreements, stating in a series of email exchanges that ERC “will

not produce a witness tomorrow to address Topics 2, 3, or 4 of BLFG’s notice or Topics 1 or 2 of

[Defendants] Rios and Gamboa’s cross-notice.”


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       This subtopic is no longer at issue, as the parties agreed that it may be addressed by
experts.
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       7.      On September 1, 2020, the BL/FG Defendants deposed ERC’s corporate

representative, Bryan Boaz. ERC’s counsel improperly instructed Boaz not to answer questions

about BL/FG Topics 2, 3, and 4. ERC’s counsel also interfered with questioning on BL/FG

Topics 7 and 11, making improper objections and repeatedly instructing Boaz not to answer.

       8.      On September 8, 2020, ERC filed a belated motion for a protective order, asking

the Court to order that contention topics be converted to interrogatories.

       9.      BL/FG Topics 2 and 4 seek factual information concerning the “alleged

obligation of Bridger Logistics to provide financial support or reimbursement to BTS relating to

Eddystone or the RSA” (Topic 2), as well as material facts underlying various ERC allegations

concerning the Defendants and BTS (Topic 4). BL/FG Topics 2 and 4 are similar to ERC’s own

Topic 5, which sought “material facts alleged in and relating to Defendants’ Amended

Counterclaims,” with wide-ranging subtopics targeting such allegations.

       10.     BL/FG Topic 3 addresses the manner in which Eddystone maintains its

accounting books and records, which is relevant to its alter ego claim, its allegations of an

implied contract, and BL/FG Defendants’ defenses against the same. It is also relevant to,

among other things, Eddystone’s valuation of its customer relationship with BTS or any of the

BL/FG Defendants, its valuation of purported contractual rights against BL/FG Defendants, its

valuation of the Rail Services Agreement (“RSA”), and its assertion of estoppel as an affirmative

defense.

       11.     In sum, ERC proffered an unprepared witness who was not allowed to testify

about areas for which ERC previously had committed to provide testimony, after refusing to

accept repeated proposals to exchange interrogatory responses in lieu of 30(b)(6) testimony and

putting the BL/FG Defendants to the burden of preparing their own witness to testify on

contention topics. ERC then belatedly sought a protective order seeking forgiveness rather than
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permission.

       12.     Pursuant to Fed. R. Civ. P. 37(a)(1), counsel for the BL/FG Defendants hereby

certify that, on numerous occasions identified in the Memorandum, they conferred with counsel

for Plaintiff ERC in a good faith attempt to avoid court action.

       For all of the forgoing reasons and for the additional reasons set forth in the

Memorandum, the BL/FG Defendants respectfully ask the Court to deny ERC’s Motion for a

Protective Order and sanction ERC for discovery misconduct.

Dated: September 22, 2020                     Respectfully submitted,

                                          By: /s/ Lawrence G. Scarborough
                                             Lawrence G. Scarborough (Admitted Pro Hac Vice)

                                              Richard L. Scheff (I.D. No. 35213)
                                              Michael C. Witsch (I.D. No. 313884)
                                              ARMSTRONG TEASDALE LLP
                                              One Commerce Square
                                              2005 Market Street, 29th Floor
                                              Philadelphia, PA 19103
                                              Telephone: (267) 780-2000
                                              Facsimile: (215) 405-9070
                                              rlscheff@atllp.com
                                              mwitsch@atllp.com

                                              Lawrence G. Scarborough (Admitted Pro Hac Vice)
                                              Bieta Andemariam (Admitted Pro Hac Vice)
                                              BRYAN CAVE LEIGHTON PAISNER LLP
                                              1290 Avenue of the Americas
                                              New York, New York 10104
                                              Telephone: (212) 541-2000
                                              Facsimile: (212) 541-4630
                                              lgscarborough@bclplaw.com
                                              bieta.andemariam@bclplaw.com




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                           Jacob A. Kramer (Admitted Pro Hac Vice)
                           Rachel A. Beck (Admitted Pro Hac Vice)
                           BRYAN CAVE LEIGHTON PAISNER LLP
                           1155 F Street, NW
                           Washington, D.C. 20004
                           Telephone: (202) 508-6000
                           Facsimile: (202) 508-6200
                           jake.kramer@bclplaw.com
                           rachel.beck@bclplaw.com
                           Brian C. Walsh (Admitted Pro Hac Vice)
                           Alicia Ragsdale Olszeski (Admitted Pro Hac Vice)
                           BRYAN CAVE LEIGHTON PAISNER LLP
                           211 North Broadway, Suite 3600
                           St. Louis, Missouri 63102
                           Telephone: (314) 259-2000
                           Facsimile: (314) 259-2020
                           brian.walsh@bclplaw.com
                           ali.olszeski@bclplaw.com
                           Sarah L. Hartley (Admitted Pro Hac Vice)
                           BRYAN CAVE LEIGHTON PAISNER LLP
                           1700 Lincoln Street, Suite 4100
                           Denver, Colorado 80203
                           Telephone: (303) 861-7000
                           Facsimile: (303) 866-0200
                           sarah.hartley@bclplaw.com

                           Attorneys for Bridger Logistics, LLC, Ferrellgas
                           Partners, L.P., Ferrellgas L.P., Bridger Rail
                           Shipping, LLC, Bridger Real Property, LLC,
                           Bridger Storage, LLC, Bridger Swan Ranch, LLC,
                           Bridger Terminals, LLC, Bridger Transportation,
                           LLC, J.J. Addison Partners, LLC, J.J. Liberty, LLC,
                           Bridger Admin Services II LLC, Bridger Energy,
                           LLC, Bridger Lake, LLC, Bridger Leasing, LLC,
                           Bridger Marine, LLC




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                               CERTIFICATE OF SERVICE

       I, Alicia Ragsdale Olszeski, hereby certify that on September 22, 2020, a true and correct

copy of the foregoing memorandum was filed electronically via the Court’s ECF filing system.

This document is available for viewing and downloading from the ECF system and electronic

notification has been sent to all counsel of record.

                                                       /s/ Alicia Ragsdale Olszeski
                                                       Alicia Ragsdale Olszeski




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